Case 0:20-cv-61765-WPD Document 13 Entered on FLSD Docket 11/06/2020 Page 1 of 1




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                                      CASE NO. 20-61765-CIV-DIMITROULEAS

  RAYMOND T. MAHLBERG,

         Plaintiff,

  vs.

  GUSSS?, INC.,

        Defendant.
  ____________________________________/

                ORDER APPROVING JOINT STIPULATION OF DISMISSAL

         THIS CAUSE is before the Court upon the Joint Stipulation for Dismissal with Prejudice

  (the “Stipulation”) [DE 12], filed herein on November 5, 2020. The Court has carefully reviewed

  the Stipulation and is otherwise fully advised in the premises.

         Accordingly, it is ORDERED AND ADJUDGED as follows:

         1. The Stipulation [DE 12] is hereby APPROVED.

         2. This case is DISMISSED with prejudice.

         3. The Clerk is directed to CLOSE this case and DENY any pending motions as moot.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida on

  this 6th day of November, 2020.




  Copies furnished to:
  Counsel of Record
